                    Case 1-24-45433-ess                    Doc 1        Filed 12/31/24            Entered 12/31/24 15:26:10


 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 EASTERN
 ____________________             N.Y.
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               1550 BEDFORD AVE LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   XX-XXXXXXX
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              199 LEE AVENUE, #693
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                              BROOKLYN                     NY          11211
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              KINGS
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  N.A.
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                     Case 1-24-45433-ess              Doc 1        Filed 12/31/24          Entered 12/31/24 15:26:10



Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5313
                                           ___ ___ ___ ___

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                         A plan is being filed with this petition.
                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
                     Case 1-24-45433-ess             Doc 1        Filed 12/31/24           Entered 12/31/24 15:26:10



Debtor        _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a
     business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
     affiliate of the debtor?                     District _____________________________________________ When               __________________
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         No
     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?
                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                     Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
     creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                   Case 1-24-45433-ess                   Doc 1       Filed 12/31/24             Entered 12/31/24 15:26:10



Debtor      _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         12/ /2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________                YOEL GOLDMAN
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   MANAGING MEMBER
                                             Title _________________________________________




 18. Signature of attorney
                                          /s/Isaac Nutovic
                                             _____________________________________________                Date       12/  /2024
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                              Isaac Nutovic
                                             _________________________________________________________________________________________________
                                             Printed name
                                              LAW OFFICES OF ISAAC NUTOVIC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              261 Madison Avenue, 26th Floor, NY NY 10016
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              NEW YORK
                                             ____________________________________________________
                                                                                                                 NY        10016
                                                                                                             ____________ ______________________________
                                             City                                                            State        ZIP Code

                                              9179227963
                                             ____________________________________                             inutovic@nutovic.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address


                                                   1667526
                                                                                                     NY
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
